                  UNITED STATES COURT OF APPEALS
                       FOR THE EIGHT CIRCUIT

                                   No: 22-2918
                            ARKANSAS UNITED, et al.,
                               Plaintiffs-Appellees,
                                         v.
                             JOHN THURSTON, et al.,
                              Defendants-Appellants.

                            State of Nebraska, et al.
                         Amici on Behalf of Appellant(s)

                                    No:23-1154
                            ARKANSAS UNITED, et al.,
                                Plaintiffs-Appellees,
                                          v.
                             JOHN THURSTON, et al.,
                               Defendants-Appellants

             On Appeal from the United States District Court for the
                         Western District of Arkansas
                            (No. 5:20-CV-05193)
                            (No. 5:20-CV-05193)
                       The Honorable Timothy L. Brooks

         APPELLEES’ OPPOSED MOTION TO LIFT ABEYANCE

Griselda Vega Samuel                       Nina Perales
Susana Sandoval Vargas

MEXICAN AMERICAN LEGAL                     MEXICAN AMERICAN LEGAL
DEFENSE AND EDUCATIONAL                    DEFENSE AND EDUCATIONAL
FUND                                       FUND
100 N. La Salle St., Suite 1900            110 Broadway St., Suite 300
Chicago, IL 60602                          San Antonio, Texas 78205
(312) 427-0701                             (210) 224-5476
gvegasamuel@maldef.org                     nperales@maldef.org
ssandovalvargas@maldef.org


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                                             Lawrence Walker
                                             JOHN W. WALKER, P.A.
                                             1723 Broadway
                                             Little Rock, AR 72206
                                             (501) 374-3758
                                             Lwalker@walkerandchilds.com

      Plaintiffs-Appellees respectfully move this Court to lift the abeyance in this

case and set a briefing schedule. Given the United States Supreme Court’s recent

decision in Allen v. Milligan, 143 S.Ct. 1487 (2023), which recognized that Section

2 of the federal Voting Rights Act (“VRA”) is privately enforceable, there is no

need to continue to hold this case in abeyance. The upcoming Arkansas 2024

Primary Election further serves as reason to lift the abeyance. Seven months from

now, Arkansas will hold its 2024 Primary Election leading to the 2024 General

Election in November 2024, and limited English proficient voters’ rights under the

federal Voting Rights Act will once again be at risk.

      On January 27, 2023, the Parties to this case submitted a joint motion

requesting to consolidate and hold the proceedings in the appeal on the merits (No:

22-2918) and the appeal of Plaintiffs-Appellees’ attorney’s fees and costs petition

(No: 23-1154) in abeyance pending this Court’s decision in Arkansas State

Conference of the NAACP v. Arkansas Board of Apportionment, No. 22-1395 (8th

Cir.) (“Arkansas State Conference of the NAACP”). See Dkt. No. 5240117. In

Arkansas State Conference of the NAACP, the question raised was whether Section



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2 of the Voting Rights Act is privately enforceable. The merits appeal in this case

raises a similar question of whether Section 208 of the federal Voting Rights Act is

privately enforceable. Given the similarity of the issues presented, for judicial

economy and preserving the Parties’ resources the Parties requested that all

proceedings be held in abeyance until this Court’s decision in Arkansas State

Conference of the NAACP. On March 6, 2023, this Court consolidated the cases

and held all proceedings in abeyance. See Dkt. No. 5251858.

      On June 8, 2023, the U.S. Supreme Court issued a decision in Allen v.

Milligan that supports the conclusion that an implied private right of action exists

for parties to enforce their rights under Section 2 of the VRA. 143 S.Ct. 1487

(2023). In Milligan, a challenge brought by private parties, the U.S. Supreme Court

upheld a lower district court’s decision to strike down Alabama’s 2020

congressional map as racially gerrymandered in violation of Section 2 of the VRA.

Id. Throughout the Court’s decision, and in Justice Kavanaugh’s concurring

opinion, the Court notes the importance of not uprooting nearly 40 years of

precedent in §2 Voting Rights Acts jurisprudence. Id. at 1504 and 1507. (“Gingles

has governed our Voting Rights Act jurisprudence since it was decided 37 years

ago…And we have applied Gingles in one § 2 case after another, to different kinds

of electoral systems and to different jurisdictions in States all over the

country.…We accordingly decline to recast our [Section 2] case law as Alabama



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requests.”). A private right of action under Section 2 of the VRA is implicit in the

fact that individual plaintiffs over decades have brought and won Section 2 claims

under the VRA for racially discriminatory violations of their right to vote. The

Supreme Court’s recent decision not only cements the 40-year precedent, but also

confirms there is an implied private right of action for violations of the VRA. Since

the U.S. Supreme Court has recently addressed the sturdiness of precedent under

section 2 and the VRA, there is no need to continue to hold this case in abeyance.

      The rapidly approaching Arkansas Primary Election on March 5, 2024,

which will bring out thousands of voters across the state, provides further support

for lifting the abeyance. 2024 Election Dates, Ark. Sec'y of State (Rev. July 2023),

https://www.sos.arkansas.gov/uploads/elections/2024_Election_Calendar_Rev._7-

2023__1.pdf. The current population in Arkansas is 3,045,637. Population

Estimates July 1, 2022 (V2022), Census Bureau (July 1, 2022),

https://www.census.gov/quickfacts/AR. This is an increase of 1.1% from 2020,

when Plaintiffs first filed this case on November 2, 2020 to challenge Arkansas’s

six-voter limit that prevents voters from casting their ballot with the assistor of

their choice, when that assistor has already helped six other voters during an

election. Id. During the November 2020 General Election, over 1.2 million voters

cast their ballot in Arkansas. Nov. 3, 2020, 2020 General Election and Nonpartisan

Judicial Runoff: Voter Turnout, Ark. Sec'y of State (September 3, 2021),


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https://results.enr.clarityelections.com/AR/106124/web.264614/#/detail/100.

There were approximately 83,000 Latinos eligible to cast their vote in Arkansas

during that election. R. Doc. 2 at 2, ¶21. Of those Latino voters, many were limited

English proficient, and required voting assistance. Id. at ¶ 22. There will be

approximately 87,800 Latinos in Arkansas that are eligible to vote in the 2024

elections. Citizen Voting Age Population (CVAP) 2017-2021 5-year ACS Data-

CSV Format, Census Bureau (February 1, 2023),

https://www.census.gov/programs-surveys/decennial-census/about/voting-

rights/cvap.html. The increase in Latino eligible voters for the 2024 elections

means the risk of disenfranchisement for limited English proficient voters in

Arkansas is still significant. Organizations that want to provide critical voting

assistance to limited English proficient voters, like Plaintiff-Appellee Arkansas

United, will be unable to meet the demands for assistance if Arkansas’ six-voter

limit remains in place. Because Arkansas is not required to provide language

assistance under Section 203 of the VRA, there is a high risk that limited English

proficient voters' fundamental right to vote will be infringed. 86 Fed. Reg. 69,611

(Dec. 8, 2021), https://www.justice.gov/media/1183616/dl?inline. The district

court’s injunction reduces the risk of disenfranchisement for limited English

proficient voters by allowing those voters greater ability to select their assistor of

choice.



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      For these reasons and respecting the importance of the Purcell principles

that may come into issue the longer this case is held in abeyance, and the closer the

2024 elections approach, Plaintiffs-Appellees respectfully request the Court to lift

the abeyance and set a new briefing schedule. See Purcell v. Gonzalez, 549 U.S. 1,

6 (2006).

Dated: August 30, 2023                        Respectfully Submitted,
                                              /s/ Griselda Vega Samuel

                                              Lawrence Walker
                                              AR Bar No. 2012042
                                              John W. Walker, P.A.
                                              1723 Broadway
                                              Little Rock, AR 72206
                                              Tel: (501) 374-3758
                                              Lwalker@walkerandchilds.com

                                              MEXICAN AMERICAN
                                              LEGAL DEFENSE AND
                                              EDUCATIONAL FUND

                                              Griselda Vega Samuel
                                              IL State Bar No. 6284538
                                              Susana Sandoval Vargas
                                              IL State Bar No. 6333298
                                              100 N. La Salle St., Suite 1900
                                              Chicago, IL 60602
                                              Phone: (312) 427-0701
                                              Email: gvegasamuel@maldef.org
                                              Email: ssandovalvargas@maldef.org

                                              Nina Perales
                                              TX State Bar No. 24005046
                                              110 Broadway St., Suite 300


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                                             San Antonio, Texas 78205
                                             Phone: (210) 224-5476
                                             Email: nperales@maldef.org
                                             ATTORNEYS FOR APPELLEES

                      CERTIFICATE OF CONFERENCE

I HEREBY CERTIFY that on August 14, 2023, I sent an email to counsel for
Appellants seeking their position on the instant motion. On August 15, 2023,
Appellants responded as follows: "Defendants would oppose a motion to lift the
stay.”
                                                    /s/ Griselda Vega Samuel
                                                    Griselda Vega Samuel
                                                    Attorney for Appellees

                      CERTIFICATE OF COMPLIANCE

I certify that this motion complies with the type-volume limitation of Fed. R. App.
 P. 27(d) because it contains 940 words, excluding the parts exempted by Fed. R.
                                    App. P. 32(f).

 I also certify that this motion complies with the requirements of Fed. R. App. P.
  32(a)(5)-(6) because it has been prepared in 14-point Times New Roman font,
                                using Microsoft Word.

  I further certify that this PDF file was scanned for viruses, and no viruses were
                                   found on the file.

                         CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on August 30, 2023, I electronically filed the foregoing
with the Clerk of the Court for the United States Court of Appeals for the Eight
Circuit by using the CM/ECF system. Notice of this filing will be sent to all
counsel of record by operation of the Court’s electronic filing system.

                                                    /s/ Griselda Vega Samuel
                                                    Griselda Vega Samuel
                                                    Attorney for Appellees


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